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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOSHUA ATCHLEY et al., )
Plaintiffs, )
V. ) Civil Case No. 17-2136 (RJL)
ASTRAZENECA UK )
LIMITED, ef al., )
Defendants. '
ORDER

July iP ash [Dkt. ## 128, 130]

For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that defendants’ motion to dismiss [Dkt. # 128] and foreign defendants’

motion to dismiss for lack of personal jurisdiction [Dkt. # 130] are GRANTED.

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RICHARD J.LEON
United States District Judge

SO ORDERED.
